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                                                 OFFICE OF THE CLERK

                             UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF SOUTH CAROLINA
                                J. BRATTON DAVIS UNITED STATES BANKRUPTCY COURTHOUSE
                                                   1100 LAUREL STREET
                                          COLUMBIA, SOUTH CAROLINA 29201-2423
                                       TELEPHONE (803)765-5436 www.scb.uscourts.gov

                 ──────────────────────────────────────────────────────────────────




 DATE:         May 23, 2025

 TO:           TMX Finance dba TitleMax of South Carolina, John B. Kelchner, PO
               Box 1473, Columbia, SC 29202; Spa on Port Royal Sound Horizontal
               Property Regime, Inc., Lucas S. Fautua, 171 Church Street, Ste 120
               Charleston, SC 29413; James Wyman, Trustee, PO box 997, Mt.
               Pleasant, SC 29465; Estate at Westbury, Julie Franklin, P.O. Drawer
               2976, Bluffton, SC 29910; West-Aircomm, Benjamin E. Grimsley,
               P.O. Box 11682, Columbia, SC 29211

 RE:           Jacqueline Elizabeth Ard and Terry Frank Nicola, 25-01384-JD




       Pursuant to Federal Rule of Bankruptcy Procedure 8003, this letter is to notify you that a notice
of appeal in the above-referenced case was filed in this Court on May 22, 2025. A copy of that notice
along with a copy of the judgment, order, or decree of this Court which has been appealed is included
with this letter. In deciding what action to take in response to this appeal, it may be helpful to review
Part VIII of the Federal Rules of Bankruptcy Procedure, which governs the procedure on an appeal
from a judgment, order, or decree of a bankruptcy court.

       Federal Rule of Bankruptcy Procedure 8009 sets forth the procedure and deadlines for
designating the record on appeal. If you need to order transcripts, a Transcript Order Form AO435 is
available through the Court’s website, www.scb.uscourts.gov.

       The record on appeal will be transmitted from this office to the Clerk of Court for the United
States District Court for the District of South Carolina, upon completion, pursuant to Federal Rule of
Bankruptcy Procedure 8010. Parties to the appeal will receive notice once the record on appeal is
received by the District Court. Typically, an appeal and the associated record on appeal are transmitted
to the District Court within thirty (30) days from the final designation of the record on appeal and the
receipt of any requested transcript. 1




               1 Transmittal may be delayed in certain instances beyond the control of the Court, such as where

       designations are voluminous or require the retrieval of archived documents.
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       At the request of the Clerk of Court for the United States District Court for the District of South
Carolina, parties to this appeal are hereby advised that any designation of the record must contain a
statement as to whether or not there is, or ever has been, an appeal to the District Court in any related
case or adversary proceeding.


                                                 Lauren T Maxwell, Clerk of Court
                                                 United States Bankruptcy Court

                                                 BY: /s/ K. Ralston
                                                    K. Ralston, Deputy Clerk

Enclosures

cc:    Jacqueline Elizabeth Ard and Terry Frank Nicola
       United States Trustee
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION                                   Filed By The Court
                                                                                  5/22/2025 5:09 PM
 In re:                                                                           U.S. BANKRUPTCY COURT
                                                    Chapter 13                  DISTRICT OF SOUTH CAROLINA
 JACQUELINE ELIZABETH ARD AND
 TERRY FRANK NICOLA                                 Case No. 25-01384-JD


                       Debtors.

                NOTICE OF APPEAL AND STATEMENT OF ELECTION
Part 1; Idepti(y the appellaot<sl
   1. Name(s) of appellant(s):

        JACQUELINE ELIZABETH ARD AND TERRY FRANK NICOLA

   2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
      of this appeal:

        For appeals in an adversary proceeding.      For appeals in a bankruptcy case and not in
        D      Plaintiff                             an adversary proceeding.
        D      Defendant                           ~        Debtor
        D      Other (describe)                      D      Creditor
                                                     D      Trustee
                                                     D      Other (describe)


Part 2; Idepti(y the subject of this appeal
    1. Describe the judgment, order, or decree appealed from: Order from which the appeal is
       taken: Order Denying Debtors' Motion to Impose Automatic Stay [Docket No. 55]
       attached hereto as ExhibitA.

   2. State the date on which the judgment, order, or decree was entered: May 21, 2025




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Part 3i Identify the other parties to the appeal
List the names of all parties to the judgment, order, or decree appealed from and the names,
addresses, and telephone numbers of their attorneys (attach additional pages if necessary):




 ~                                               Attorney
  l .TMX Finance dba TitleMax of South           John 8. Kelchner
  Carolina                                       PO Box 1473 (29202)
                                                 190 I Main St., Suite 900
                                                 Columbia, SC 29201
                                                 Telephone: 803-227-4234
                                                 Email: jkelchner@turnerpadget.com

     2.Spa on Port Royal Sound Horizontal        Lucas S. Fautua
     Property Regime, Inc                        171 Church Street, Ste 120
                                                 Charleston, SC 29413
                                                 Telephone: (843) 714-2533
                                                 Email: rjones@smithdebnamlaw.com


     3. Trustee                                  James Wyman, Trustee
                                                 PO Box 997
                                                 Mt. Pleasant, SC 29465
                                                 Pbone:(843)388-9844
                                                 Email: 13info@charlestonl3.com


     4. Estate at Westbury                       Julie Franklin
                                                 P.O. Drawer 2976
                                                 Bluffton, SC 29910
                                                 Telephone: (706) 452-1303
                                                 Email: jfranklinlegal@gmail.com


     5. West-Aircomm                             Benjamin E. Grimsley
                                                 P.O. Box 11682
                                                 Columbia, SC 29211
                                                 Telephone: (803) 233-11 77
                                                 Email: bgrimsley@dgglegal.com




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Part 4; Optional election to have appeal heard by District Court (applicable only iu certain
distrjcts)
If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(l), a party elects to have the
appeal heard by the United States District Court. If an appellant filing this notice wishes to have
the appeal heard by the Unjted States District Court, check below. Do not check the box if the
appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

        1( Appellant(s) elect to have the appeal heard by the United States District Court rather
             than by the Bankruptcy Appellate Panel.

Part 5; Sien below



Jacqu r e E. Ard
239 Beach City Road unit 3218
Hilton Head Island, SC 29926
Mailing Address:
21215 Dartmouth Drive
Southfield, MI 48076
Telephone: (313) 770-7051




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                            EXHIBIT A
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                                                                          Entered 05/23/25 13:33:55               Desc Main
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                    47                  Pre-Confirmation Modjfied Ch. 13 Plan • Conduit. Objections due no later than 7 days prior to the Confirmation
05/08/2025          ( 18pgs)            Hearing Filed by Jacqueline Elizabeth Ard, Terry Frank Nicola. (Ting, K) (Entered: 05/ 12/2025)

                    48                  Certificate of Service RE: Amended Schedules/Statements filed by Debtor Jacqueline Elizabeth Ard, Joint Debtor
                    (6 pgs)             Terry Frank Nicola, Modified Plan filed by Debtor Jacqueline Elizabeth Ard, Joint Debtor Terry Frank Nicola. Filed
05/08/2025                              by Jacqueline Elizabeth Ard, Terry Frank Nicola . (related document(s)46, il). (Ting, K) (Entered: 05/ 12/2025)

                    49                  Correspondence: Receipt of Amendment Filing Fee (related document(s)). (Ting, K) Modified on 5/12/2025 to
05/08/2025          (I pg)              correct docket text (Ting, K). (Entered: 05/ 12/2025)

05/09/2025                              Receipt of Amendment Filing Fee - $34.00 by EM. Receipt Number 30 I086. (admin) (Entered: 05/09/2025)

                    50                  Deficiency Notice re: Amended Schedules/Statements (related document(s)46). Filing fee paid on 05/08/2025 for
                    (2 pgs; 2 docs)     additional creditors added from schedules fil ed 04/25/2025. Filing fee due for additional creditors from amended
                                        schedules and creditor matrix filed 05/08/2025. De uciency Correction Due By: 5/22/2025 (Ting, K) (Entered:
05/ 12/2025                             05/12/2025)

                    ,ii                 Motion for Relief from Stay, Hearing Notice and Certificate of Service RE: 2018 Jeep Grand Cherokee, Motor
                    (llpgs)             Vehicle Identification No. I C4RJFA G3JC479405 . Filed by Benjamin Edward Grimsley of D'Alberto, Graham &
                                        Grimsley, LLC on behalfofWEST-AIRCOMM FEDERAL CREDIT UNION. Date Served 5/12/2025. Last day for
                                        objections is 5/27/2025. Hearing scheduled for 6/18/2025 at 11 :00 AM at Charleston. (Grimsley, Benjamin) (Entered:
05/ 12/2025                             05/ 12/2025)

                               ..       Receipt of Filing Fee for Motion for Relief From Stay( 25-01384-jg) [motion,mrlfsty] ( 199.00). Receipt Number
05/ 12/2025                             Al4374903, amount 199.00. (U.S. Treasury) (Entered: 05/ 12/2025)

                    52                  Certificate of Service of Document as served by the Bankruptcy Noticing Center. Notice Date 05/ 14/2025. (Related
05/ 14/2025         (3 pgs)             Doc # 50) (Admin.) (Entered: 05/ 15/2025)

05/19/2025                              Meeting of Creditors Held and Examination of Debtor (Wyman, James) (Entered: 05/ 19/2025)

                    53                  Response to Objection filed by Creditor TMX Finance dba TitleMax of South Carolina, Inc., Objection filed by
                    (44 pgs; 2 docs)    Creditor Spa on Port Royal Sound Horizontal Property Regime, Inc., Response filed by Trustee James M. Wyman
                                        with Certificate of Service Filed by Jacqueline Elizabeth Ard (related docurnent(s)38, 42, 44). (Attachments:# 1
05/21/2025                              Exhibits) (Dillard, S) (Entered: 05/21 /2025)


              !>~l~ 55
                                    *   Hearing Held relating to: Motion to Impose Automatic Stay filed by Debtor Jacqueline Elizabeth Ard, Joint Debtor
                                        Terry Frank Nicola. (related docurnent(s)]2). Debtors were not present the first two times the matter was called; the
                                        Ruling was read into record, and court adjourned. The Court went back on the record and read the ruling into record,
                                        again, once the Debtors arrived. The Motion is denied. The Court will prepare the Order. (Beaulieu, N) (Entered:
05/21 /2025                             05/2 I /2025)
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                                CERTIFICATE OF SERVICE
        I certify that on May 13, 2025, I caused a true and correct copy of the foregoing
 document to be served by the Court's CM/ECF notification system, which will send notice of
 electronic filing to all counsel of record, and by First Class Mail prepaid to the parties listed
 below:

Trustee:
James Wyman, Trustee
PO Box 997
Mt. Pleasant, SC 29465
Email: 13 info@charleston 13. com

 US Trustee:
 USTPRegion04.CO.ECF@usdoj.gov

 John B. Kelchner
 PO Box 1473 (29202)
 I 901 Main St., Suite 900
 Columbia, SC 2920 l
 Email: jkelchner@tumerpadget.com

 Lucas S. Fautua
 171 Church Street, Ste 120
 Charleston, SC 29413
 Email: rjones@smithdebnamlaw.com

 Julie Franklin
 P.O. Drawer 2976
 Bluffton, SC 29910
 Email: jfranklinJegaI@gmail.com

 Benjamin E. Grimsley
 P.O. Box 11682
 Columbia, SC 29211
 Email: bgrimsley@dgglegal.com




Dated: May 22, 2025
                                             Mai ·ng ddress:
                                             2121     artmouth Drive
                                             Southfield, Ml 48076
                                             Telephone: (313) 770-7051
                                             Email: jacquelineard72@gmail.com

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                                                                                                     •
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                                                         Notice Recipients
Recipients of otice of Electronic Filing:

              US Trustee's Office     USTPRegion04.C0.ECF@usdoj.gov
              James M. Wyman          l 3info@charleston13.com
              Elizabeth H Parrott     eLizabeth.parrott@mccalla.com




Recipients submitted to the BNC (Bankruptcy Noticing Center):


              WEST- AJRCOMM FEDERAL CREDIT UNION                          c/o Weitman, Weinberg & Reis Co., LPA             5990 West
              Creek Rd. Suite 200        INDEPENDENCE. OH 44131 UNITED STATES
er            Nationstar Mortgage LLC          c/o McCalla Raymer Leibert Pierce, LLC              Bankruptcy Department         1544
              Old Alabama Road          Roswell, GA 30076 UNITED STATES
544518999 A WA Collections             P.O. BOX 6605            Orange, CA 92863
5445 18984 AAdvantage Aviator Portfolio Recovery               PO Box 8828           Wilmington, DE 19899- 8828
5445 18985 ADT Security Services            1501 Yamato Road             Boca Raton, FL 3343 l
5445 I 8986 ADT Security Services           P.O. Box 650485           Pittsburgh, PA 15250
544518987 ADT,LLC              Transworld Systems lnc           500 Virginia Dr. Suite 514          Ft Washington, PAI 9304
544518996 ATandT            P.O. BOX 5080            Carol Stream, IL 60 197-6080
5445 18998 ATandT           P.O. BOX 5080            Carol Stream, [L 60197- 6080
5445 18988 Allstate Indemnity          POBox4310             Carol Stream, IL 60197
5445 18989 Allstate lnsmance           P.O. Box 21 169          Roanoke, VA 24018-0537
544518990 American Express -             AXPLEGALATTORNEY                     500 North Franklin Turnpike No. 315          MAIL CODE
              297       Ramsey, New Jersey 07446
5445 18991 American Express National Bank c/o Becket and Lee                 PO Box 3001          Malvern PA 19355-0701
5445 18992 AmericoUect Lnc           POBox2080             Manitowoc, WI 54221-2080
5445 18993 Armstrong Cable            P.O. Box 300           Lancaster, PA 17604-3001
544518994 Associated Credit Services, INC              P.O. Box 1201          Tewksbury, MA 01876
5445 1.8995 Association Services, An Associa Company C/O Hil.to                1040 William Hilton Pky #200          Hilton Head Island,
              SC 29928
5445 19000 Bank of America            P.O. Box 982238           El Paso TX 79998
5445 1900 I Barclays Bank Delaware            Attention: Card Services LEGAL             PO. Box 8833          Wilmington, DE
              19899- 8833
544519002 Barry Mullis           239 Beach City Road Apt 2213              Hilton Head Island, SC 29926- 4 7 13
544519003 Beaufort County Sheriffs Department                Melissa Hansen          PO. Box 1758         Beaufort, SC 2990 l
544519004 Beaufort County Treasurer             P.O. Drawer 487           Beaufort. SC 29901- 0487
5445 19005 Beaumont Medical Transport Services               950 West Maple St Suite C           Troy, MI 48084
5445 19194 Best Law, PA           Tara E. Nauful           P.O. Box 2374          Mount Pleasant, SC 29465
544519006 Braun Kendrick Finkbeiner PLC                Mitchell G. Piper         4301 Fashion Square Blvd          Saginaw, MI
              48603
544519195 Bromley Law Firm LLC               Evan K. Bromley            21 1 Goethe Rd Ste B          Bluffton, SC 29910-6014
5445 19012 CBE Group Spectrum Mobile               Attn: Client Services          P.O. Box 2547
5445 19 134 Caine and Weiner           PO. Box 55848           Sherman Oaks. CA 91413
5445 19007 Capital One Auto Finance,            division of AIS Portfolio Services, LLC           4515 N Santa Fe Ave.
              Dept.       APS Oklahoma City, OK 73118
5445 19010 Capone-Kohls            P.O. Box 3115            Milwaukee, WI 53201- 3115
5445 19011 Carter-Young, inc.            120 2nd St 2nd          Fl Monroe, GA 30655
5445 19013 Chase Card Services            P.O. Box 6294           Carol Stream, [L 60197
544519167 Chase lnk Business Card Services               P.O. Box 15298          Wilmington, DE 198506548
544519014 Citibank           PO Box 790034            St. Louis, MO 63 l79-o034
544519015 Citicorp Credit Services           Attn: IRU          PO. Box 790034           St. Louis, MO 63179
5445 19016 Citizens Bank          One Citizens Plaza           Providence, RI 02903
5445190 I 7 City of Detroit - Property Tax          P.O. Box 33193           Detroit, MI 48232- 5 193
5445 19196 City of Detroit Water and Sewerage Dept              735 Randolph St          Detroit, MI 48226-2830
544519018 Clare County 55th Judicial Circuit             225 West Main           Harrison, MI 43625
5445 19020 Comenity - Zales            PO Box 650971            Dallas, TX 75265- 0971
5445 19019 Comenity Caesars Rewards              P .0. Box 650960           Dallas, TX 75263-0960
544519021 Comenity Portfolio Refresh             3095 Loyalty Circle           Columbus, OH 43219
5445 19 197 Consumer Energy Company               Attn: Legal Dept          I Energy Plaza Dr         Jackson, Ml 49201-2357
5445 19022 Consumers Energy Company                Attn: Legal Dept          One Energy Plaza          Jackson, MI 4920 I
5445 19023 County Council Of Beaufort County Assessor                Real Property Services          P.O. Drawer 1229         Beaufort.
              SC 29901
5445 I 9 I 98 Coyne Oil        Atln: Rose        5 I 3 W 5th St        Clare, MI 486 l 7-9405
5445 19024 Credit Management Company                PO Box 16346            Pittsburgh, PA 15242-0346
544519025 Credit One Bank             PO Box 98875            Las Vegas, NV 89193- 8875
5445 19026 Crown Asset Mgmt              3100 Breckinridge Blvd Ste 725            Duluth, GA 30096- 7605
544519027 Cuyahoga Community ColJege                  700 Carnegie Ave.          Cleveland, OH 44115
5445 19036 DNF Associates            2351 N Forest Road Suite 110            Getzville, NY 14068
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544519037 DTE             I Energy Plaza          WCB 735 Attention Legal Dept              Detroit, Ml 48226-1221
544519200 DTE Energy               WCB 735 Attention Legal Department               l Energy Plaza         Detroit, Ml 48226- 1221
544519029 Dave Yost OH At1orney General                 Attn: Timothy Sullivan           18013 Cleveland Pkwy Suite
              180        Cleveland, OH 44135
544519199 Detroit Water and Sewerage Dept                Po Box 554899           Detroit, Ml 48255- 4899
54451903 l Dillon McCandless King Cou.lter, Graham, LLP                  128 West Cunningham Street            Butler, PA 16001
544519033 Dish Network LLC                960 I S. Meridian Blvd          Englewood, CO 80112
544519034 Diverse Funding              3580 Harlem Rd Suite 6           Cheektowaga, NY 14215- 2045
5445 I9038 Duquesne Light             Payment Processing Center            P.O.BOX67           Pittsburgh, PA 15257-000 I
544519039 Enterprise Rental Car             600 Corporate Park Drive           St. Louis, Missouri 63105
544519201 Estate At Westbury Owners Assoc, [nc                 Board of Directors          85 Kensington Blvd          Bluffton, SC
              29910-4884
544519041 Fifth Third Bank             MD No. ROPS05 Bankruptcy Dept                 1850 East Paris SE         Grand Rapids, Ml
              49546-6253
544519042 First Energy - Penn Power                PO Box 1600 I          Reading. PA 19612- 600 I
544519043 Firstsource Advantage, LLC                205 Bryant Woods South            Amherst, N Y 14228
5445 I 9044 Forefront Dermatology             801 York Street         Manitowoc, W1 54220
544519045 Fortiva- Bob's Discount Furniture               P.O. Box 650721            Dallas, TX 75265-0271
544519047 Garry Masterson, Weitman, Weinberg, Reis Co                   5990 West Creek Road suite 200            Independence, Ohio
              44131
544519048 George 8. Smythe               4000 S. Faber Place Dr Suite 300           Charleston, SC 29405
544519049 Georgia Traffic             PO Box 80447           Conyers, GA 30013
544519050 Go Store It            1249 Avondale Rd            Hendersonville, TN 37075
544519046 Go Store It            33 Parameter Road           Bluffion, SC 29910
544519051 Greensky             PO. Box2730            Alpharetta, GA 30023
544519052 Hargray Communications-Cable One Inc                    856 William Hilton Parkway            Hilton Head Island, SC
              29928- 3423
544519186 Hilton Head Resort              Board of Directors         663 William Hilton Pkwy             Hilton Head. SC
              29928-3506
544519053 Hilton Head Resort- Four Seasons Centre                 HHR Council of Owners             Attn: Board of Directors         663
              Wiliam Hilton Parkway            Hillan Head Island, SC 29928- 3508
544519054 Home Depot               Centralized Bankruptcy           P.O. Box 790034           St. Louis, MO 63179-0034
544519055 Home Depot Loan                POBox2730            Alpharetta, GA 30023- 2730
544519057 Honorable Nicola Henry-Taylor                  Allegheny Court of Common Pleas              712 City-County Building           414
              Grant St        Pittsburg, PA 15219
544519058 Ian D. Maguire and Tiffany Buflkin                Maguire Law Firm            1600 North Oak Street Suite B          Myrtle
              Beach, SC 29577
544519063 JPMCB Card Services                PO Box 15369            Wilmington, DE 19850-5369
544519064 JPMORGAN Chase Bank Bankruptcy                       Mail Intake Team          700 Kansas Lane Floor O1           Monroe, LA
              71203- 4774
544519099 JPMorgan Chase Bank, N.A.                  sbmt Chase Bank USA, N.A.              CO National Bankruptcy Services,
              LLC         P.O. Box 9013 Addison, Texas 75001
544519066 JPMorgan Chase Bank, N.A.                  sbmt Chase Bank USA, NA.              CO Robertson, Anschutz, Schneid,
              Crane         6409 Congress A venue, Suite I00            Boca Raton, FL 33487
544519059 Janet Spinelli            I00 Kensington Blvd Apt NO. 918             Bluffton, SC 29910- 7481
544519060 Jannine M. Mutterer, Esq.               5 Cedar Street        Bluffton, SC 29910
544519061 John Curtis             100 Kensington Blvd Apt NO. 1603             Bluffton, SC 29910-7490
544519187 Jones, Simpson, and Newton PA                  Attn: Wm Weston J Newton             7 Plantation Park Drive Suite
              3        Bluffton, SC 29910
544519062 Jordan Tax Service              102 Rahway Road            McMurray, PA 15317- 3349
544519100 Judy Vanderveer               663 William Hilton Parkway Apt 3121              Hilton Head Island, SC 29928-3524
544519188 Julie A. Franklin, Esq             PO Box 2976           Bluffton, SC 29910-2976
544519189 Komatsu Benefit Dept                Mark Harder          401 E Greenfield Ave           Milwaukee, W1 53204- 2941
544519802 LVNV Funding, LLC                  Resurgent Capital Services          PO Box I0587            Greenville, SC 29603-0587
544519190 Law Office of Scott M. Wild LLC                 Scott M. Wild         37 New Orleans Road Suite F             Hilton Head Island,
              SC 29928
544519056 Master [n Equity              102 Ribaut Road 2nd Floor           Beaufort, SC 29902
544519101 Midland Credit Management                  320 East Big Beaver Suite 300           Troy, Ml 48083
544519102 Monevolnc               8910 University Cntr Lane Suite 400           San Diego, CA 92122
544519191 Morgan Lewis & Bockius LLP                   Attn: Mat1 Hawes          One Oxford Centre, Thirty- Second FL             Pittsburg,
              PA 15219- 6401
544519103 Morgan S. Templeton                145 King Street Suite 300          Charleston. SC 29402
544519104 Mr. Cooper              P.O. Box 619094           Dallas, TX 75261
544519192 Mutterer Law Firm, LLC                 Jannine M. Mutterer, Esq          5 Red Cedar Street Suite I02          Bluffton, SC
              29910
544519108 NES             2479 Edison Blvd Unit A            Twinsburg, OH 44087
544519112 NORTHSTAR LOCATION SERVICES                            4285 GENESEE STREET                 CHEEKTOWAGA, NY
               14225- 1943
5445 l9l05 National Credit Systems              Attn: Bankruptcy          PO Box 672288            Marietta, GA 30006-0039
 544519106 Nationstar Mortgage              PO Box 1991 l 1         Dallas, TX 75219-9111
 5445 l 9 I93 Nationstar Mortgage, LLC             Attn: Bankruptcy Department            PO Box 619096           Dallas, TX
               75261 - 9741
 544519174 Nationstar Mortgage, LLC                James Page         Bell Carrington Price & Gregg, LLC            339 Heyward St,
               Second Floor         Columbia, SC 29201-4390
 544519107 Nationwide Credit Inc              1225 Washington St Ste 30 I          Tempe, AZ 85288
 544519175 Norman Jewelry and Loan                 24777 Telegraph Suite B           Southfield, MI 48034
 544519109 Norman's            24777 Telegraph Rd            Southfield, MI 48033
 544519117 Office Depot             P.O. Box 78004          Phoenix, AZ 85062
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544519113 Office Depot Business Credit           Dept563- 8406380360              P.O. Box 70612         Philadelphia, PA I 917
            6-0612
544519114 Office of Sheriff Beaufort County            P.O. Box 1758           Beaufort, SC 29901
544519118 Ohio Turnpike EZ Pass            PO Box 94672             Cleveland, OH 4410 I
544519119 PA Dept of Revenue           Bureau oflndividual Taxes              PO. BOX 280504          Harrisburg, PA~
            17128- 0504
544519120 PA Turnpike Toll By Plate           PO. Box 645631             Pittsburgh. PA 15264- 5254
544519128 PLYMOUTH ROCK ASSURANCE                         695 ATLANTIC A VE               BOSTON, MA 02111
544519129 PNC Bank           1900 E 9th St          Cleveland, OH 44114
544519176 Palmetto Electric         Attn: Michelle Tyler           111 Matthews Drive          Hilton Head Island, SC 29926
544519123 Peoples Gas         PO. Box 644760             Pittsburgh, PA 15264-4 760
544519124 Pioneer Foot Care          2021 Freepo Rd            Arnold, PA 15068
544519125 Pittsburgh Water and Sewer            1200 Penn Ave            Pittsburgh, PA 15222
544519130 Pods Legal Dept          280 Leetsdale Industrial Dr, Suite 200            Leetsdale, PA 15056
544519131 Pods Legal Dept          5585 Rio Vista Dr            Clearwater, FL 33760
544519177 Polly Nicola        2583 Lower Assembly Drive                Fort Mill, SC 29708
544519133 Portfolio Recovery          P.O. Box 8828            Wilmington. DE 19899-8828            Progressive Insurance
544519178 Progressive Insurance          30440 Lakeland Blvd             Wickliffe, OH 44092
544519135 Quantum3 Group LLC agent for               Crown Asset Management LLC               PO Box 788          Kirkland, WA
            98083-0788
544519136 Radius Global Solutions           7831 Glenroy Road Suite 250             Minneapolis, MN 55439
544519137 Resurgent Receivables, LLC            Resurgent Capital Services            PO Box I 0587        Greenville, SC
            29603- 0587
5445 19138 Ronald Zold         I Long Cone Ct            Bluffion, SC 29909-7113
544519139 S.C. Dept of Revenue and Taxation              P.O. Box 125          Columbia, SC 29214
544519140 SC Department of Revenue             Office ofGenernl Counsel             300A Outlet Pointe Blvd         Columbia. SC
            29210
544519141 Scott M. Wild          37 New Orleans Road Suite F              Hilton Head Island, SC 29928
544519142 Semina Delaurentis           66 Quail Run            Torrington, CT 06790-2549
544519143 Shannon Cummings             302 N. Lake St            Harrison,MI 48625
544519144 South Carolina Dept of Motor Vehicles              PO Box 1498           Blythewood, SC 29016-0028
544519145 Spectrum Mobile           Credit Control, LLC            3300 Rider Trail S, Suite 500        Earth City, MO 63045
5445 19146 Synchrony Bank          PO Box 669809              Dallas, TX 75266-0170
544519147 Synergetic Communication             PO. Box 680608             Franklin, TN 3 7068
544519149 T-Mobile          PO Box 742596             Cincinnati, OH 45274- 259
544519153 TBOM-ATLS- Fortiva               6 Concourse Parkway             2nd Floor-mailroom          Atlanta, GA 30328-6117
544519154 TD Bank          PO Box 84037            Columbus, GA 31908-4037
544519155 TD Bank North NA             70 Gray Road            Falmouth, ME 041052299
544519156 TD Bank USA-Target Credit              POBox673             Minneapolis, MN 55440- 0673
544519148 TMobile          CO American lnfosource LP               4515 Santa Fe Ave            Oklahoma City, OK
            73118- 7901
544519150 Tamara Slank           14686 Oakwood Drive              Shelby Township, Ml 48315- 1530
5445 19151 Tate and Kirlin Assoc         4800 East Street Rd Suite 170            Trevose, PA 19053
544519179 Taybron Law Finn LLC              3399 Churchview Ave              Pittsburgh, PA 15227- 4358
544519157 The Hertz Corporation           8501 Williams Road             Estero, FL 33928- 3325
544519158 The Huntington National Bank             5555 Cleveland Avenue GW4W25                 Columbus, OH 43231
544519159 The Huntington National Bank             PO Box 89424 OPC856               Cleveland, OH 44101 - 8539
5445 191 82 The Spa on Port Royal Sound           Board of Directors           239 Beach City Road        Hilton Head, SC
            29926-4707
5445 19160 Ticket Division        PA Turnpike EZ Pass             3 00 East Park Dr         Harrisburg, PA 17 l 11
544519183 Title Max Corporation           155 Bill St         Savannah, GA 31401-2685
544519161 Traffic Magistrate         4819 Bluffion Parkway              Bluffion, SC 29910-4622
544521096 U.S. Department of Education c/o Nelnet               121 South 13th Street        LINCOLN, NE 68508
544519162 UPMC           Credit Management Company                 P.O. Box 16348
544519126 UPMC           P.O. Box 371472            Pittsburgh, PA 15242
544519163 US Department of Education             CO Nelnet            121 South 13th Street       Lincoln, NE 68508
5445 19165 Verizon Wireless Bankruptcy Admin               500 Technology Drive, Suite 550          Weldon Spring, MO 63304
544519166 Viking Client Services          Hertz Damage Recovery Team                7500 Office Ridge Circle, Suite 100        Eden
            Prairie, MO 55344- 3763
544523152 WEST-AIRCOMM FEDERAL CREDIT UNlON                              c/o Weitman, Weinberg & Reis Co., LPA            5990 West
            Creek Rd, Suite 200        INDEPENDENCE, OH 44131
5445 19168 Wells Fargo Bank          PO. Box 5058            Portland, OR 97208- 5058
544519169 West Virgina Trafc Division           300 Spruce St            Morgantown, WV 26505
5445 19170 West Virginia EZ Pass          PO Box 1469             Charleston, WV 25325
544519203 West- Aircomm FCU             CO Weitman. Weinberg And. Reis Co LPA                   5990 West Creek Road Suite
            200       Independence, OH 44131
544519204 Westlake Financial          2 Equity Way Ste 200             Westlake, OH 44145- 1045
544519171 Woodlands at St Barnabas            Attn: Torn Breth           128 West Cunningham Street           Buller, PA 16001
5445 19205 Wright's Custom Body Shop LLC               1216 Leeson Ave            Cadillac, MI 49601-9097
5445 191 72 Youngstown State University           I Tressel Way           Youngstown, OH 44555
5445 19173 Zeidmans         2669 Gratiot Ave           Detroit, Ml 48207
5445 19206 Zeidmans Jewelry          Thomas LaBret and- or Current President              24810 Evergreen Road          Southfield, Ml
            48075
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                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 25-01384-jd



   ORDER DENYING MOTION TO IMPOSE THE AUTOMATIC STAY AND PROVIDING
      NOTICE OF CONVERSION OR DISMISSAL TO BAR FURTHER REFILING


The relief set forth on the following pages, for a total of 12 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           05/23/2025




                                                   US Bankruptcy Judge
                                                   District of South Carolina



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                          UNITED STATES BANKRUPTCY COURT

                               DISTRICT OF SOUTH CAROLINA

    IN RE:
                                                                    C/A No. 25-01384-JD

    Jacqueline Elizabeth Ard and Terry                                     Chapter 13
    Frank Nicola,
                                                         ORDER DENYING MOTION TO
                                        Debtor(s).      IMPOSE THE AUTOMATIC STAY
                                                         AND PROVIDING NOTICE OF
                                                         CONVERSION OR DISMISSAL
                                                         TO BAR FURTHER REFILING



         THIS MATTER is before the Court on the Motion to Impose the Automatic

Stay (“Motion”) filed by Jacqueline Elizabeth Ard and Terry Frank Nicola (“Debtors”)

requesting an automatic stay be imposed pursuant to 11 U.S.C. § 362(c)(4). 1 Three

creditors filed objections to the Motion: Estates at Westbury Owners Association, Inc.

(“EAW”), TMX Finance dba TitleMax of South Carolina, Inc. (“TitleMax”), and Spa

on Port Royal Sound Horizontal Property Regime Inc. (“Port Royal Sound HPR”). The

Chapter 13 Trustee also filed a response signaling its opposition to the Motion.

Following a hearing on the Motion and an oral ruling, the Court issues the following

Findings of Fact and Conclusions of Law consistent with the oral ruling.

                                          FINDINGS OF FACT

         Debtor Ard has filed two2 previous bankruptcy cases under Chapter 7 in the



1
  ECF No. 15. The Court notes that the Motion purports to move for an extension of the automatic stay under 11
U.S.C. § 362(c)(3)(B), but due to Debtors’ filing history the Court construes the Motion as one filed under 11 U.S.C.
§ 362(c)(4).
2
  See Case No. 96-56979-WSD and Case No. 11-55392-WSD. Debtor Ard was represented by counsel in Case No.
96-56979-WSD but proceeded pro se in her other individual Chapter 7 case.

                                                         1
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Eastern District of Michigan. Both of Ard’s individual Chapter 7 cases were

discharged. As a couple, Debtors have filed two bankruptcy cases together under

Chapter 13 within the past 12 months—one in this District, and one in the Eastern

District of Michigan. Case No. 24-03611-JD was filed in this District on October 4,

2024, and was dismissed pursuant to 11 U.S.C. § 521(i) on November 21, 2024, for

Debtors’ failure to file documents required under 11 U.S.C. § 521(a).3 Case No. 25-

40952-MLO was filed in the Eastern District of Michigan on January 31, 2025, and

was also dismissed for Debtors’ failure to filed required documents on March 3, 2025.4

In both of these cases, Debtors filed three motions to extend the deadline to file the

schedules, statements, and disclosures required by 11 U.S.C. § 521(a). The first two

motions to extend were granted in Case No. 24-03611-JD,5 and granted and denied

in part in Case No. 25-40952-MLO.6 The third motion to extend was denied in each

case.7

         Debtors then filed this case on April 10, 2025, and this Motion on April 18,

2025. Debtors failed to comply with Local Rule 9013-4 because they did not notice the

hearing on the Motion. The Court generated a hearing notice and scheduled the

matter for May 22, 2025, at 11:00 AM. This hearing notice was sent to all creditors.

Debtors received the notice on April 21, 2025, at the email addresses they provided


3
  Specifically, Debtors failed to file a Chapter 13 plan, a Declaration about an Individual Debtor(s) Schedules,
Schedules D-J, a Statement of Financial Affairs, Copies of Payment Advices, Chapter 13 Statement of
Income/Calculation, and a Statement of Increased Income/Expenses. ECF No. 46 of Case No. 24-03611-JD.
4
  Debtors failed to file a Chapter 13 Plan, the Chapter 13 Statement of Debtors’ Current Monthly Income and
Calculation of Commitment Period Form 122C-1, the Declaration About an Individual Debtor(s)’ Schedules,
Schedules A-J, a Statement of Financial Affairs for Individuals Filing for Bankruptcy, and a Summary of Debtors’
Assets and Liabilities and Certain Statistical Information. ECF No. 64 of Case No. 25-40952-MLO.
5
  Case No. 24-03611-JD, ECF Nos. 23, 36.
6
  Case No. 25-40952-MLO, ECF Nos. 40, 58.
7
  Case No. 24-03611-JD, ECF No. 50; Case No. 25-40952-MLO, ECF No. 63.

                                                       2
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to the Court. On April 25, 2025, Debtors filed required schedules and statements,8

pay advices,9 and a Plan.10

         The Motion contends the stay must be imposed if Debtors show that the

current case was filed in good faith, which, according to Debtors, the Court can

determine by examining Debtors’ efforts to comply with bankruptcy requirements,

the circumstances of their prior dismissals and Debtors’ overall conduct. Debtors

assert that good faith can be inferred because Debtors have taken a corrective

measure—namely, subscribing to a bankruptcy software to ensure compliance with

filing requirements—to prevent the failures that hampered them in previous cases,

and paid their filing fees on the date the petition was filed. Further, Debtors aver the

dismissals of their previous two cases were due to circumstances beyond their control.

Specifically, Debtors argue the dismissal of Case No. 24-03611-JD was due to

“creditor stay violations [that] further disrupted reorganization efforts,” and that

Case No. 25-40952-MLO was “[d]ismissed for jurisdictional issues, not due to Debtor

misconduct.” In addition to seeking the imposition of the automatic stay, the Motion

asks the Court to impose the stay retroactively so that it would have been in effect on

the date Debtors’ petition was filed.

         The Motion drew a litany of creditor objections. EAW filed the first Objection

to the Motion.11 Therein, EAW argues that Debtors have failed to allege any

substantial change in financial or personal affairs to overcome the presumption of



8
  ECF Nos. 23, 27, 28, and 30.
9
  ECF No. 29.
10
   ECF No. 30.
11
   ECF No. 36.

                                                3
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bad faith. Specifically, EAW points to Debtors’ noncompliance with bankruptcy

requirements, failure to put forth any good faith attempts at reorganization, and

provision of conflicting information in their two prior bankruptcy cases. TitleMax

filed the second objection to the Motion, arguing that Debtors did not show

substantial changes from the prior cases and therefore do not rebut the presumption

of bad faith.12 TitleMax further alleges that Debtors purchased a 2017 Hyundai

Elantra under lien to TitleMax in September of 2024, and have made no contractual

payments on that vehicle to date. Port Royal Sound HPR filed the third objection in

its capacity as the owners’ association administering Debtors’ property at 239 Beach

City Road, Apartment #3218, Hilton Head Island, SC 29926.13 Port Royal Sound HPR

argues Debtors’ prepetition behavior - filing each of their bankruptcy cases on the eve

of three foreclosure sales – amounts to bad faith by obstructing and defrauding the

creditor’s rightful remedies under South Carolina law. Lastly, the Chapter 13 Trustee

filed a Response to the Motion14 to Impose, raising the question of whether Debtors

have proven by clear and convincing evidence that the present case will be concluded

“with a confirmed plan that will be fully performed” pursuant to 11 U.S.C. §

362(c)(4)(D)(i)(III).15

        After these objections were filed, Debtors filed a statement of change, amended

schedules D, E/F, and H, an amended declaration about individual Debtors’




12
   ECF No. 38.
13
   ECF No. 42.
14
   ECF No. 44.
15
   The Court notes that another creditor, West-Aircomm Federal Credit Union (“West-Aircomm”), has filed a motion
for relief from stay in this matter. ECF No. 51. West-Aircomm has filed Proof of Claim 4-1 in this case.

                                                       4
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schedules, an amended statement of financial affairs,16 and a modified plan.17

Debtors also filed a Reply (“Reply”) to the creditors’ objections and the Trustee’s

response around 8:30 PM on May 20, 2025—the night before the hearing.18 On the

morning of the hearing, Debtors contacted the Court to inform staff that they would

be late to the hearing, as they were completing a seventeen hour drive to the hearing

and encountered weather delays en route that would delay their arrival at Court until

11:30 AM. Debtors were not present when the matter was called at 11:00 AM. EAW,

TitleMax, Port Royal Sound HPR and the Chapter 13 Trustee were all present when

the matter was called, and consented to delaying the hearing until 11:30 AM to

accommodate Debtors’ delay. Debtors were informed that the hearing would begin at

11:30 AM and failed to appear to prosecute their motion at 11:30 AM.

         At the 11:30 AM hearing, the Court issued an oral ruling denying the Motion

based on Debtors’ failure to prosecute and setting other conditions in this case.

Debtors arrived after this ruling was issued and after the record was closed. For the

benefit of Debtors, the Court went back on the record to state the ruling, now reduced

to written form in this Order.

                                         CONCLUSIONS OF LAW

         11 U.S.C. § 362(c)(4)(A)(i) provides, in relevant part, that “if a single or joint




16
   ECF No. 46.
17
   ECF No. 47.
18
   Debtors’ Reply was accompanied by a certificate of service stating that the Chapter 13 Trustee, EAW, Port Royal
Sound HPR, TitleMax, and West-Aircomm were served with the Reply on May 19, 2025; however, Ard’s signature
on the reply is dated May 20, 2025, so it is unclear when the Reply was sent. Nevertheless, Debtors’ Reply is untimely
under SC LBR 9013-2, which mandates all memoranda and briefs filed by the parties to materially assist the Court in
its determination of the issues shall be filed, along with a certificate of service on all appropriate parties, no later than
7 days prior to the hearing on the matter.

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case is filed by or against a debtor who is an individual under this title, and if 2 or

more single or joint cases of the debtor were pending within the previous year but

were dismissed ... the stay under subsection (a) shall not go into effect upon the filing

of the later case[.]” If there is no stay as a result of § 362(c)(4)(A)(i), a debtor may

request the stay take effect if such request is made within 30 days after the filing of

the later case and if, after notice and a hearing, the debtor “demonstrates that the

filing of the later case is in good faith. . .”, the stay may be imposed. 11 U.S.C.

§ 362(c)(4)(B). A stay imposed under Section 362(c)(4)(B) “shall be effective on the

date of the entry of the order allowing the stay to go into effect.” 11 U.S.C.

§ 362(c)(4)(C).

      Section 362(c)(4)(D)(i)(I) states that a case is presumptively filed not in good

faith as to all creditors if “2 or more previous cases under this title in which the

individual was a debtor were pending within a 1-year period.” A case is presumptively

filed not in good faith under Section 362(c)(4)(D)(i)(II) if “a previous case under this

title in which the individual was a debtor was dismissed within the time period stated

in this paragraph after the debtor failed to file or amend the petition or other

documents as required by this title or the court without substantial excuse (but mere

inadvertence or negligence shall not be substantial excuse unless the dismissal was

caused by the negligence of the debtor's attorney), failed to provide adequate

protection as ordered by the court, or failed to perform the terms of a plan confirmed

by the court.” Additionally, Section 362(c)(4)(D)(i)(III) states that a case is not

presumptively filed in good faith if “there has not been a substantial change in the



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financial or personal affairs of the debtor since the dismissal of the next most previous

case under this title, or any other reason to conclude that the later case will not be

concluded, if a case under chapter 7, with a discharge, and if a case under chapter 11

or 13, with a confirmed plan that will be fully performed.” “The determination of good

faith is necessarily fact intensive and must be conducted on a case-by-case basis. The

Court should consider the totality of the circumstances . . . in making its decision.” In

re Thomas, 352 B.R. 751, 757 (Bankr. D.S.C. 2006).

        Debtors have had two bankruptcy cases dismissed within the past twelve

months. 11 U.S.C. § 362(c)(4)(D)(i)(I). Therefore, the automatic stay was not imposed

upon the filing of this case. 11 U.S.C. § 362(c)(4)(A)(i). By statute, this case was

presumptively not filed in good faith. Debtors bore the evidentiary burden of

rebutting this presumption by clear and convincing evidence. 11 U.S.C. § 362(c)(4)(D);

In re Jones, 667 B.R. 310, 312 (Bankr. D.S.C. 2025). They did not do so.

        Debtors Motion sought two forms of relief. First, Debtors sought to impose a

stay retroactive to the filing of this case. This is denied. 11 U.S.C. § 362(c)(4)(C)

clearly prevents the Court from ordering any retroactive relief of this nature. Second,

the Debtors sought to impose a stay as to all creditors for the duration of their case.

This is also denied. Debtors failed to attend the hearing on the Motion19 and prosecute

it so there is no evidence to rebut the presumption of bad faith.

        The hearing on the Motion is just one example of Debtors’ broader pattern of



19
  The Motion cites to Debtors doing the bare minimum to maintain the case- paying the filing fee and timely filing
schedules, statements, and Plan as evidence rebutting the presumption of bad faith. The Motion lacks a true account
of why Debtors’ previous cases were dismissed—it omits the Debtors’ missteps, downplays their responsibility to
comply with the Bankruptcy Code, and outright misstates the reason their case in Michigan was dismissed.

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excuse, delay, and failure to take responsibility in the cases they have filed with this

Court. Although they received notice of the hearing on the Motion thirty days in

advance of the hearing, they failed to adequately plan so that they could attend the

hearing when it started, blaming their tardiness on their drive and weather issues.

Debtors attempted to shift their failures in their first case before this Court to the

chapter 13 Trustee and their creditors.20 None of these allegations were proven

correct and the Court issued orders rejecting Debtors’ attempt to blame the chapter

13 Trustee and their creditors for their failures in their first case.21

           While not necessary to decide the matter due to Debtors’ failure to prosecute

and present evidence, the docket provides ample support that Debtors are not acting

in good faith. Debtors are functionally unable to show a change in circumstances

warranting another filing due to the dearth of information provided in their previous

two cases. 11 U.S.C. § 362(c)(4)(D)(i)(III); In re Thomas, 352 B.R. 751, 756-57 (Bankr.

D.S.C. 2006) (noting the Court has considered whether a debtor has experienced a

change in circumstances warranting a new case in determining whether the debtor

has rebutted the presumption of bad faith). In their prior cases, Debtors provided no

accounting of their income and their monthly expenses, no proposed plan or other

data points that could help the Court understand whether Debtors could have

successfully reorganized and whether they are in a better financial position. The

Court has no baseline for Debtors’ financial circumstances in their prior cases, and

therefore cannot determine whether a substantial change in their overall


20
     Case No. 24-03611-JD, ECF Nos. 56, 59, and 77.
21
     Case No. 24-03611-JD, ECF Nos. 74 and 118.

                                                      8
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circumstances has occurred.

        Additionally, the Plan filed by Debtors is patently unconfirmable as it violates

multiple provisions of the Bankruptcy Code. 11 U.S.C. § 362(c)(4)(D)(i)(III); In re

Charles, 334 B.R. 207, 220 (Bankr. S.D. Tex. 2005) (“If the newly-filed case is likely

to result in another dismissal (whether voluntary or involuntary), then the newly

filed case is likely not filed in good faith as to any non-consenting creditor.”). As noted

at the hearing, Debtors’ Plan suffers from a long list of defects, including, but not

limited to, its failure to treat secured creditors, to pay the Till interest rate of 9.00%

to secured creditors,22 to provide adequate information concerning Debtors’ income

and expenses such that the Court can determine whether Debtors’ income will enable

them to pay back their creditors as required by the Bankruptcy Code and to indicate

whether the Debtor or Trustee will pay Debtors’ unsecured creditors. The schedules

and statements filed in this case are similarly unclear and insufficient. Therein,

Debtors attempt to shield practically all property by claiming exemptions that appear

improper and fail to list in Schedule G executory contracts or leases attesting to the

rental contracts that account for Ard’s income. Ard also appears to take a position

regarding Zeidman’s Jewelry that is inconsistent with her allegations in Ard v.

Zeidman’s Jewelry & Loan of Southfield (In re Ard, et. al.), Ch. 13, Case No. 24-03611-

JD, Adv. No. 25-80005. The Court has significant questions about the feasibility of

the proposed Plan based on Debtors’ schedules and statements. There is no indication

that the Plan has a reasonable likelihood of success. This Order provides Debtors


22
  See, Interest Rate in Chapter 13 Cases, United States Bankruptcy Court for the District of South Carolina (July 24,
2024), https://www.scb.uscourts.gov/news/interest-rate-chapter-13-cases-1.

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with notice that they must amend their Plan to comply with the Bankruptcy Code no

later than 28 days before the scheduled confirmation hearing on June 25, 2025, in

order to have a plan considered.

      Finally, Debtors filings indicate a lack of candor. In re Thomas, 352 B.R. at 756

(noting the Court has also considered a debtor’s honesty in representing facts when

determining whether the debtor has rebutted the presumption of bad faith). Debtors’

Reply misstates the holding of cases cited therein. For example, Debtors assert In re

Love, 957 F.2d 1350 (7th Cir. 1992) holds that “[c]reditor interference (e.g., unlawful

repossession) justifies stay protection to preserve reorganization efforts.” In re Love

holds nothing of the sort, and in fact bears striking similarities to this case. The

Seventh Circuit affirmed the bankruptcy court’s dismissal of a chapter 13 case for

lack of good faith. Love, 957 F.2d at 1362. The Court noted during the hearing that

such a material misrepresentation would be grounds for sanctions under Fed. R.

Bankr. P. 9011(b) if an attorney had filed the Reply.

      However, this case and Debtors’ opportunity for a fresh start are not without

hope. Debtors have amassed real estate holdings that rival their prodigious

accumulation of unsecured debt. According to the schedules, there is substantial

equity in their properties to pay their unsecured creditors in full. That said, Debtors

have not demonstrated a reasonable likelihood of moving this case forward to

confirmation. There appears to be cause under 11 U.S.C. § 1307 to either convert this

case to chapter 7 or, pursuant to 11 U.S.C. § 105, to dismiss this case to bar further

refiling for a two-year period as to chapters 11, 12, and 13 should Debtors fail to



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obtain confirmation of a plan on June 25, 2025. Debtors are provided with notice that

the Court will consider, on its own motion, whether this case should be dismissed to

bar further refiling or should be converted on July 2, 2025, at 10:00 AM. Should

Debtors seek to voluntarily dismiss this case, Debtors are provided notice that the

Court may condition such dismissal to bar the refiling of a further case under

chapters 11, 12, or 13 for a period of two years.

      NOW THEREFORE, IT IS ORDERED

      The Motion is denied with prejudice as to Debtors;

      The automatic stay imposed under 11 U.S.C. § 362(a) is confirmed to have not

been effective upon the filing of this case and there is no stay in effect in this case;

and

      A hearing on whether this case should be dismissed to bar further refiling or

converted to chapter 7 shall be held on July 2, 2025, at 10:00 AM at the United States

Bankruptcy Court, 145 King Street, Suite 225, Charleston, SC 29401.

      AND IT IS SO ORDERED.




                                          11
